869 F.2d 1492
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.Gerald F. PIOTTER, Plaintiff-Appellant,v.SECRETARY OF HEALTH AND HUMAN SERVICES, Defendant-Appellee.
    No. 88-1231.
    United States Court of Appeals, Sixth Circuit.
    Feb. 17, 1989.
    
      Before RALPH B. GUY, Jr., and ALAN E. NORRIS, Circuit Judges, and ROBERT HOLMES BELL, District Judge.*
      PER CURIAM.
    
    
      1
      Plaintiff, Gerald F. Piotter, appeals from an order of the district court which affirmed the denial of disability benefits.
    
    
      2
      Having carefully considered the record on appeal and the briefs of the parties, we are unable to say that the decision of the Appeals Council is not supported by substantial evidence.  Accordingly, the district court did not err in granting summary judgment to the Secretary, and the judgment of the district court is therefore AFFIRMED upon the reasoning set forth in the Report and Recommendation of the magistrate, dated October 30, 1987.
    
    
      
        *
         The Honorable Robert Holmes Bell, United States District Court for the Western District of Michigan, sitting by designation
      
    
    